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                    EXHIBIT D
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                                                                                    Cameron Bell
  42240 Parkside Cir., Apt. 209     Sterling Heights, MI 48314  (248) 990-2878  cbell@oliverlawgroup.com

EXPERIENCE

Partner & Attorney
OLIVER BELL GROUP - Troy, MI                                                              March 2018 - Current
   • Became a member of the Michigan Indigent Defense Commission (“MIDC”), currently appointed as an
       Oakland County Public Defender in their felony division since 2018. Tried multiple felony cases in the Oakland
       County Circuit Court.
   • Negotiated and settled No-Fault Auto cases, submitted demands to insurance adjusters, wrote complaints,
       appeared for scheduling conferences, argued motions for summary disposition, handled Discovery for
       multiple cases, represented and deposed deponents in depositions, wrote Case Evaluations/Facilitation
       summaries for multiple cases, responded to Motions for Summary Disposition.
   • Assisted and represented multiple offenders on the Sex Offender Registry (“SORA”) due to the Does II v.
       Snyder, Constitutional/Class Action Litigation. Oliver Law Group P.C. was the only private law firm appointed
       as class counsel. Written multiple MCR 6.500 Motions on behalf of SORA registrants and have been successful
       in eastern and western counties in having registrants removed from SORA based on retroactive application of
       the 2011 amendments.
   • Assisted and represented clients in the Alexander et al v. Hall et al, Constitutional/Putative Class Action
       Litigation involving unconstitutional conditions of confinement at Parchman Prison in Mississippi.
   • Assisted, represented, and was successful in obtaining compensation for multiple clients wrongfully convicted
       under Michigan’s Wrongful Imprison Compensation Act (“WICA”).
   • Six (6) years of experience in dealing with complex litigation, Multi-District Litigation cases (“MDL”) such as
        Transvaginal Mesh, In re Valsartan Class and Personal Injury Product Liability Litigation Multi District
        Litigation, In re American Medical Systems, Inc. Pelvic Repair System Product Liability Multi District Litigation,
        In re C.R. Bard, Inc. Pelvic Repair Systems Product Liability Multi District Litigation, In re Ethicon Inc. Pelvic
        Repair Systems Product Liability Multi District Litigation, In re Zimmer NexGen Knee Implant Product Liability
        Multi District Litigation, 3M Combat Arms Earplug Product Liability Litigation, Gilead Tenofovir, Camp Lejeune,
        In re Allergan Biocell Textured Breast Implant Product Liability Litigation, In re Ethicon Physiomesh Flexible
        Hernia Mesh Product Liability Litigation, In re JUUL Labs, Inc., Marketing, Sales Practices, And Products
        Liability Litigation, In re Taxotere (Docetaxel) Product Liability Litigation etc.
    •   Appointed to the Leadership Development Committee (“LDC”) in the Hair Relaxer Litigation in March 2023.
    •   Assisted and represented clients seeking expungements in multiple counties throughout Michigan. Also
        represented clients for expungements prior to the new set aside laws going into effect in 2021.
    •   Represented multiple clients in landlord-tenant cases involving Notices to Quit, Evictions, declaratory relief,
        etc.

Attorney                                                                                  August 2016 – March 2018
ROMANO LAW, PLLC – Pleasant Ridge, MI
   • Negotiated and settled No Fault Auto cases, submitted demands to insurance adjusters, wrote complaints,
       appeared for scheduling conferences, argued motions for summary disposition, handled Discovery for
       multiple cases, represented and deposed deponents in depositions, wrote Case Evaluations, responded to
       Motions for Summary Disposition, wrote Facilitation Summaries for multiple cases.
   • Client Intake- retained clients involving various legal matters, successfully conducted litigation including Auto,
       Slip/Fall, Dog Bites, Police Brutality/Misconduct, Negligence, etc.
   • Analyzed different forms of documents (EOB’s, Deposition and Hearing Transcripts, Police Reports, Auto
       Insurance Policies etc.)

Student Attorney
WASHTENAW COUNTY PUBLIC DEFENDER — Ann Arbor, MI                                               May 2015 — August 2016



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   •   Negotiated/conversed with prosecuting attorneys in the community, Interviewed, counseled, and represented
       indigent clients, met with clients at the jail to discuss case strategy, made appearances on the record for
       multiple clients, pretrial hearings, sentencing hearings, VOP’s, PCC’s and PE’s.
   •   Helped prepare (and argue) motions to quash information/evidence


Legal Intern
EATON COUNTY PROSECUTORS’ OFFICE-ECU — Lansing, MI                                February 2014 — December 2014
   • Handled bad checks, retail fraud, social security fraud, and welfare fraud complaints filed by Eaton County
       merchants and federal agencies
   • Managed the collection of restitution owed to victims, located defendants that owed diversion fees to the
       county, Completed warrant and charge forms requests for defendants

Legal Intern                                                                          April 2011 – December 2011
THE THURSWELL LAW FIRM – Southfield, MI
   • Reported directly to attorney with broad-ranged responsibilities that encompassed timely preparation of cases
       in a civil litigation law firm, prepared and interpreted medical documents
   • Reviewed files, records, and other documents to obtain information to respond to requests
   • Conducted research through various mediums, assisted with filing

EDUCATION
Juris Doctorate                                                                                     January 2016
Western Michigan University Thomas M. Cooley Law School – Lansing, MI
    • Vice President of the Sports and Entertainment Law Society 2014-2016
    • Winner of the Leadership Achievement Award Winter Term 2016
    • Dean’s List for two terms
    • Graduation Marshal (7 ceremonies)
    • Mock Trial First Year Competition Semi-Finalist in Fall Term of 2013

Bachelor of Arts in Political Science                                                                  April 2012
Oakland University – Rochester, MI
   • Minor in Philosophy

Recognition, Affiliations, and Press Coverage
   • State Bar of Michigan (P-81934)
   • Named to Michigan Super Lawyer’s Rising Stars list for 2024.
   • Named to The Marquis Who’s Who Publication Board in 2021-2022.
   • The American Association for Justice
   • The Michigan Association of Justice
   • Admitted to US District Court of Michigan-Eastern District
   • Participated in the Clean Slate Expungement Fair in Genesee County in June 2021. Interviewed by ABC 12-
      WJRT-TV (Flint).
   • Interviewed by Guy Gordon of WJR NewsTalk 760 in August 2021 regarding the Clean Slate laws that went
      into effect in 2021.




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